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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                              HUNTINGTON DIVISION

TERESA MILLS and CLINTON MILLS,
individually and as parents and guardians
of C.M.,

              Plaintiffs,

v.                                                      Case No.: 3:22-cv-00592


CABELL COUNTY BOARD OF EDUCATION,
JONNA DAVIS, MICKEY COPLEY,
TIFFANY BLACK, NATALIE MASTRANGELO,
and JOHN BAKER,

              Defendants.


             MEMORANDUM OPINION AND ORDER SEALING
         REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO ORDER
            INDEPENDENT PSYCHOLOGICAL EVALUATION OF
                PLAINTIFF TERESA MILLS AND EXHIBITS

        Pending before the Court is the Defendants’ Motion to Seal Reply in Support of

Motion to Order Independent Psychological Evaluation of Plaintiff Teresa Mills, (ECF No.

129), requesting their Reply and attached exhibits be filed as sealed. The Court notes that

the attached Reply and Exhibits contain confidential medical information. Due to the

confidential nature of this information, the Court GRANTS Defendants’ motion to seal

and ORDERS the Clerk to seal Defendants’ Reply in Support of Motion to Order

Independent Psychological Evaluation of Plaintiff Teresa Mills and Exhibits. (ECF No.

129-1-5). The Motion to File under Seal, (ECF No. 129), should not be sealed.

        The undersigned is cognizant of the well-established Fourth Circuit precedent

recognizing a presumption in favor of public access to judicial records. Ashcraft v.
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Conoco, Inc., 218 F.3d 288 (4th Cir. 2000). As stated in Ashcraft, before sealing a

document, the Court must follow a three-step process: (1) provide public notice of the

request to seal; (2) consider less drastic alternatives to sealing the document; and (3)

provide specific reasons and factual findings supporting its decision to seal the documents

and for rejecting alternatives. Id. at 302. In this case, the Reply in Support of the Motion

to Order Independent Psychological Evaluation of Plaintiff Teresa Mills and attached

exhibits shall be sealed and will be designated as sealed on the Court’s docket. The Court

deems this sufficient notice to interested members of the public. The Court has considered

less drastic alternatives to sealing the documents, but in view of the nature of the

information set forth in the documents—which is information generally protected from

public release—alternatives to wholesale sealing are not feasible at this time. Lastly, the

documents have been submitted for purposes of resolving a discovery dispute and not to

resolve a dispositive issue in the case. Accordingly, the Court finds that sealing the

Defendants’ Reply in Support of the Motion to Order Independent Psychological

Evaluation of Plaintiff Teresa Mills and attached exhibits does not unduly prejudice the

public’s right to access court documents. The Clerk is DIRECTED to file the Reply in

Support to the Motion to Order Independent Psychological Evaluation of Plaintiff Teresa

Mills and attached exhibits, (ECF No.129-1-5), under seal.

       The Clerk is further directed to provide a copy of this Order to counsel of record

and any unrepresented parties.

                                          ENTERED: December 21, 2023
